     Case 2:04-cr-01189-CAS Document 216 Filed 07/31/20 Page 1 of 4 Page ID #:925



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     UNITED STATES OF AMERICA
10

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 04-1189(A)-CAS

14              Plaintiff,                    DEFENDANT’S MEDICAL RECORDS
                                              RE: COVID-19 TEST AND INFORMATION
15                   v.

16   GABRIEL GONZALEZ,

17              Defendant.

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Karen I. Meyer,
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     Case 2:04-cr-01189-CAS Document 216 Filed 07/31/20 Page 2 of 4 Page ID #:926



1    hereby files defendant’s medical records re: COVID-19 test and

2    information.

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5    Dated: July 31, 2020                 Respectfully submitted,

6                                         NICOLA T. HANNA
                                          United States Attorney
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                                          BRANDON D. FOX
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10                                              /s/
                                          KAREN I. MEYER
11                                        Assistant United States Attorney

12                                        Attorneys for Plaintiff
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     Case 2:04-cr-01189-CAS Document 216 Filed 07/31/20 Page 3 of 4 Page ID #:927



1                       MEMORANDUM OF POINTS AND AUTHORITIES
2         On July 13, 2020 defendant filed his reply in support of his

3    motion for compassionate release.       In that reply, defendant stated

4    that he had contracted COVID-19 in May 2020.

5         On July 17, 2020, this Court issued an order requiring the

6    government to answer the following questions:

7         1. The government SHALL inquire with the relevant officials at
8    FCI Forrest-City – the BOP facility where defendant is currently
9    incarcerated – regarding the following:
10              a. Whether defendant has tested positive for COVID-19, and
11   if so, when;
12              b. If defendant has tested positive for COVID-19, whether
13   defendant has manifested any symptoms or suffered any changes in his
14   health;
15              c. If defendant has tested positive for COVID-19, whether
16   defendant has received any treatment, and
17              d. If defendant has tested positive for COVID-19 and has
18   received treatment, what that treatment consists of.
19        According to the attached excerpts from his medical records, 1

20   defendant tested positive for COVID-19 from a sample taken on May 13,

21   2020, as part of surveillance screening.         He presented as

22   asymptomatic, and denied any symptoms.        Other than being monitored

23   for symptoms, it does not appear that defendant received treatment.

24

25        1 The government received 80 pages of defendant’s medical
     records from BOP for the period January 1, 2020, to July 23, 2020
26   (when the records were received). Government counsel has reviewed
     them and identified 10 pages that address defendant’s positive COVID-
27   19 status and health condition, which are attached as Exhibit A.
     Should either the Court or defendant wish to have a copy of the
28   entire set of 80 pages, the government would be happy to provide
     them.
     Case 2:04-cr-01189-CAS Document 216 Filed 07/31/20 Page 4 of 4 Page ID #:928



1    He was cleared on June 11, 2020.       He was tested again on June 23,

2    2020, and tested negative.

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